
O’NIELL, G. J.
The defendant has appealed: from a conviction and sentence for the offense of taking more gas from a well during a period! of seven consecutive days than the maximum production allowed to be taken, in violation of the second paragraph of the fourth section of Act 252 of 1924, p. 657. The accusation, specifically, was that the defendant took 2,279,000-cubic feet of gas from the well "during the seven days, when the maximum production allowed was 1,456,000 cubic feet. It is conceded that,, as the defendant wás allowed by the proviso in the third- section of the act to take 1,000,000-cubic feet of gas a day, the conviction and sentence are illegal, and must be annulled, under authority of State v. Thrift Oil &amp; Gas Co. (No. *59527684) ante, p. 165, 110 So. 188, on rehearing, and State v. Consumers’ Gas Co. (No. 27819) ante, p. 200, 110 So. 200.
The conviction and sentence are annulled, and it is ordered that the defendant be discharged.
